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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                            WESTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                        CRIMINAL NO. 5:08CR20DCB-LRA-4

CHARLES W. GAVIN A/K/A CHARLIE
GAVIN, MAE REE McMILLIAN,
CHARLES McCULLOUGH, AMANDA C. STACY
and LINDA C. SALLEY                                                     DEFENDANTS

                                      ORDER

        This matter comes before the Court on Defendant Amanda
Stacy’s ex parte Motion for Additional Counsel pursuant to 18
U.S.C. § 3006A.       Having reviewed the Motion, docket, applicable

law, and being otherwise fully advised as to the premises, the

Court finds that the admission of Attorney James M. Tyrone on

behalf of Defendant Amanda Stacy will materially advance the

interests of justice in this substantially complex case;

accordingly,

        IT IS HEREBY ORDERED that Attorney Tyrone be allowed to

enter his appearance on behalf of Defendant Amanda Stacy in this

case;

        IT IS FURTHER ORDERED that Attorney Tyrone be compensated at

a reduced hourly rate of $50.00 per hour.
        SO ORDERED this the        22nd   day of     October        , 2008.


                                               s/ David Bramlette
                                           UNITED STATES DISTRICT JUDGE
